        Case 15-00027-jkf            Doc 19      Filed 06/21/15 Entered 06/22/15 01:10:17                          Desc Imaged
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                                              United States Bankruptcy Court
                                            Eastern District of Pennsylvania
SEITZ,
              Plaintiff                                                                           Adv. Proc. No. 15-00027-sr
Citibank, as successor-in-interest to AT,
         Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0313-2                  User: Stacey                       Page 1 of 1                          Date Rcvd: Jun 19, 2015
                                      Form ID: pdf900                    Total Noticed: 10


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 21, 2015.
ust            +BRENDA D. GISH,   Office of United States Trustee - U.S. D,   Federal Building,
                 228 Walnut Street, 11th Floor,   Harrisburg, PA 17101-1722
dft            +Citibank, as successor-in-interest to AT&T Univers,   1500 Boltonfield Street,
                 Columbus, OH 43228-3669

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: bankruptcy@phila.gov Jun 20 2015 01:39:52       City of Philadelphia,
                 City of Philadelphia Law Dept.,    Tax Unit/Bankruptcy Dept,    1515 Arch Street 15th Floor,
                 Philadelphia, PA 19102-1595
smg             E-mail/Text: RVSVCBICNOTICE1@state.pa.us Jun 20 2015 01:38:34
                 Pennsylvania Department of Revenue,    Bankruptcy Division,    P.O. Box 280946,
                 Harrisburg, PA 17128-0946
smg            +E-mail/Text: usapae.bankruptcynotices@usdoj.gov Jun 20 2015 01:39:32       U.S. Attorney Office,
                 c/o Virginia Powel, Esq.,   Room 1250,    615 Chestnut Street,    Philadelphia, PA 19106-4404
ust            +E-mail/Text: ustpregion03.ph.ecf@usdoj.gov Jun 20 2015 01:39:05       Frederic J. Baker,
                 Office of United States Trustee,    833 Chestnut Street,    Suite 500,
                 Philadelphia, PA 19107-4405
ust            +E-mail/Text: USTPRegion03.WL.ECF@USDOJ.GOV Jun 20 2015 01:39:05       SHAKIMA L. DORTCH,
                 U.S. Dept. of Justice - U.S. Trustee,    844 N. King Street,    Suite 2207,
                 Wilmington, DE 19801-3519
ust            +E-mail/Text: USTPRegion03.HA.ECF@USDOJ.GOV Jun 20 2015 01:39:05       United States Trustee,
                 228 Walnut Street, Suite 1190,    Harrisburg, PA 17101-1722
ust            +E-mail/Text: ustpregion03.ph.ecf@usdoj.gov Jun 20 2015 01:39:05       United States Trustee,
                 Office of the U.S. Trustee,    833 Chestnut Street,   Suite 500,    Philadelphia, PA 19107-4405
pla            +E-mail/Text: gseitz@gsbblaw.com Jun 20 2015 01:39:33      GARY F SEITZ,
                 Gellert Scali Busenkell & Brown LLC,    The Curtis Center,    601 Walnut Street, Suite 280 South,
                 Philadelphia, PA 19106-3323
                                                                                              TOTAL: 8

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 21, 2015                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 19, 2015 at the address(es) listed below:
              HOLLY ELIZABETH SMITH   on behalf of Plaintiff GARY F SEITZ hsmith@gsbblaw.com
                                                                                             TOTAL: 1
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                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    In re:
                                                    Chapter 7
    RGB SERVICES, LLC,

                            Debtor.



                                                    Case No. 13-15849-sr
    Gary F. Seitz, as Chapter 7 Trustee of
    The Estate of RGB Services, LLC,

                            Plaintiff
                    V.                              Adv. Proc. No.: 15-00027-sr

    CITIBANK, AS SUCCESSOR-IN
    INTEREST TO AT&T UNIVERSAL
    CARD SERVICES, INC.

                            Defendant.


                          ORDER GRANTING JUDGMENT BY DEFAULT

              AND NOW, this / /         day oy            . 2fIL5. this matter having come before the

    Court upon the Trustee/PlaintifPs Mpti^ for Default Judgment against Defendant CITIBANK,

    AS SUCCESSOR-IN-INTEREST TO AT&T UNIVERSAL CARD SERVICES, INC. (the

    "Motion"); the Court having reviewed the Motion and supporting documents, and finding the

    facts and circumstances in favor of the granting thereof, it is hereby

              ORDERED that the Motion is GRANTED; and it is further

              ORDERED, default money judgment shall be entered by the Clerk in favor of

    Trustee/Plaintiff and against CITIBANK, AS SUCCESSOR-IN-INTEREST TO AT&T

    UNIVERSAL CARD SERVICES, INC. in the amount of $24,405.31 (the "Judgment"); and it is

    further
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           ORDERED, any claims asserted by CITIBANK, AS SUCCESSOR-IN-INTEREST TO

    AT&T UNIVERSAL CARD SERVICES, INC. against the Debtor's bankruptcy estate shall be

    disallowed unless and until the Judgment is satisfied; and it is further

           ORDERED, pre-judgment interest shall accrue at the maximum legal rate running from

    the date of the filing of the Complaint to the date of the entry of the Judgment; and it is further

           ORDERED, post-judgment interest shall accrue at the maximum legal rate running from

    the date of the entry of the Judgment until the date the Judgment is paid in full; and it is further

           ORDERED, the Clerk of Court is directed to give notice of this order to all creditors and

    interested parties. The Clerk of Court is also directed to docket this order in both the adversary

    proceeding and the main case.

                                                           BY THE COURT



                                                           STEPHEN RASLAVICH
                                                           U.S. BANKRUPTCY JUDGE
